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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MESSIEH, et al., individually and on behalf of
 all others similarly situated

                                   Plaintiffs,                   20-CV-03232 (ALC)
                       -against-                                 ORDER
 HDR GLOBAL TRADING LIMITED, et al.,

                                   Defendants.

ANDREW L. CARTER, JR., United States District Judge:

         The Court is in receipt of Plaintiff Brett Messieh’s letter request to be dismissed from this

case as well as counsel Selendy Gay PLLC’s motion requesting to withdraw as counsel for Plaintiff

Brett Messieh. Based upon these submissions as well as the lacking objections to the removal of

Plaintiff Messieh from this action, the Court hereby DISMISSES Messieh from this action. The

Clerk of the Court is respectfully directed to update the case docket accordingly.

SO ORDERED.

Dated:      September 11, 2024
            New York, New York

                                                                ANDREW L. CARTER, JR.
                                                                United States District Judge
